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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                      *
vs.                                                *    Case No.: 22-15-APM
ELMER STEWART RHODES, III,                         *
KELLY MEGGS,
KENNETH HARRELSON,                                 *
JESSICA WATKINS, and
THOMAS CALDWELL                                    *
         *       *        *      *      *      *        *     *         *       *     *


        UNOPPOSED REQUEST TO EXTEND DEADLINES FOR DEFEFENDANTS’
      CONSOLIDATED REPLIES AS TO MOTION FOR JUDGMENT OF ACQUITTAL
                       AND MOTION FOR NEW TRIAL


      COMES NOW, the Defendants, Elmer Stewart Rhodes, III, Kelly Meggs, Kenneth

Harrelson, Jessica Watkins and Thomas Caldwell, by and through counsel, and respectfully

request that the deadline for defense consolidated replies as to their previously filed Motion for

Judgment of Acquittal and Motion for New Trial be extended by four (4) days, and in support of

said motion states as follows:

      1. The Government, per Assistant U.S. Attorney Kathryn Rakoczy, does not object to the

         instant request.

      2. The current deadline for defense consolidated replies as to the Motion for Judgment of

         Acquittal and Motion for New Trial is currently January 20, 2023.

      3. Counsel for the defendants require additional time to prepare their consolidated replies.

      4. Counsel for the Defendants believe an additional four (4) days is sufficient to prepare

         their replies.

      WHEREFORE, the Defendants respectfully request that defense consolidated replies as to
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the Motion for Judgment of Acquittal and Motion for New Trial be extended by four (4) days,

thus making their replies due January 24, 2023.

                                                   Respectfully submitted,


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                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 17th day of January, 2023, a copy of the foregoing
Unopposed Request to Extend Deadline for Defendants’ Consolidated Replies as to Motion for
Judgment of Acquittal and Motion for New Trial was electronically filed with the Clerk of the
United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                Office of the United States Attorney
                                           555 4th Street, NW
                                           Washington, DC 20001

                                                   /s/David W. Fischer
                                                   David W. Fischer, Esq.
